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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                       EL PASO DIVISION
________________________________________________
                                                       )
EL PASO COUNTY, TEXAS                                  )
500 E. San Antonio                                     )
El Paso, TX 79901,                                     )
                                                       )
BORDER NETWORK FOR HUMAN RIGHTS                        )
2115 N Piedras St                                      )
El Paso, TX 79930,                                     )
                               Plaintiffs,             )
                                                       )
       v.                                              ) Civil Action No. 3:19-cv-66
                                                       )
DONALD J. TRUMP, in his official capacity as           )
President of the United States of America              )
1600 Pennsylvania Avenue, NW                           )
Washington, D.C. 20500,                                )
                                                       )
PATRICK M. SHANAHAN, in his official capacity as       )
Acting Secretary of Defense                            )
1000 Defense Pentagon                                  )
Washington, D.C. 20301,                                )
                                                       )
KIRSTJEN M. NIELSEN, in her official capacity as       )
Secretary of Homeland Security                         )
245 Murray Lane, SW, Mail Stop 0485                    )
Washington, DC 20528-0485,                             )
                                                       )
DAVID BERNHARDT, in his official capacity as           )
Acting Secretary of the Interior                       )
1849 C Street, NW                                      )
Washington, DC 20240,                                  )
                                                       )
STEVEN T. MNUCHIN, in his official capacity as         )
Secretary of the Treasury                              )
1500 Pennsylvania Avenue, NW                           )
Washington, D.C. 20220                                 )
                               Defendants.             )
_______________________________________________ )


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                                         COMPLAINT

                                          Introduction

       1.      Plaintiffs El Paso County, Texas, and Border Network for Human Rights, Inc.

(“BNHR”), bring this action seeking relief from the President’s unlawful conduct in declaring a

national emergency and violating laws of Congress limiting funding for barriers at the United

States-Mexico border (the “southern border”). Plaintiffs ask this Court to provide redress by

declaring that the President’s actions are unauthorized by, and contrary to, the Constitution and

laws of the United States, and by enjoining the Secretaries of Defense, Interior, Homeland

Security, and Treasury from taking any action pursuant to the President’s Proclamation of

February 15, 2019, on Declaring a National Emergency Concerning the Southern Border of the

United States (the “Proclamation”).1

       2.      The Constitution grants Congress the exclusive power to decide how the

government spends money. “The United States Constitution exclusively grants the power of the

purse to Congress, not the President.” City & Cty. of San Francisco v. Trump, 897 F.3d 1225,

1231 (9th Cir. 2018). The Constitution’s Appropriations Clause provides that “No Money shall

be drawn from the Treasury, but in Consequence of Appropriations made by Law.” U.S. Const.

art. I, § 9, cl. 7. And the Spending Clause grants Congress alone the “Power To lay and collect

Taxes . . . to pay the Debts and provide for the common Defence and general Welfare of the

United States.” U.S. Const. art. I, § 8, cl. 1. As James Madison wrote in The Federalist Papers,

“[t]he power over the purse may [be] the most complete and effectual weapon with which any

constitution can arm the immediate representatives of the people.” THE FEDERALIST NO. 58.

Indeed, when “the decision to spend [is] determined by the Executive alone, without adequate


1
 Proclamation, Donald J. Trump, “Presidential Proclamation on Declaring a National
Emergency Concerning the Southern Border of the United States” (Feb. 15, 2019), available at
https://bit.ly/2UVgXfY.

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control by the citizens’ Representatives in Congress, liberty is threatened.” Clinton v. City of

New York, 524 U.S. 417, 451 (1998) (Kennedy, J., concurring).

       3.      The Constitution also grants Congress the exclusive power to make laws. The

President may propose measures to Congress (U.S. Const. art. II, § 3), and he must sign bills for

them to go into law (U.S. Const. art. I, § 7), unless his veto is overridden. But otherwise the

President’s role in our system of checks and balances is to execute the laws Congress has enacted

(U.S. Const. art. II, § 3), not to make the laws himself.

       4.      The Constitution further charges Congress to conduct oversight of the military.

Pursuant to this power, Congress passed the Posse Comitatus Act, 18 U.S.C. §1385, which bars

the military from engaging in domestic law enforcement except where expressly authorized by

the Constitution or Congress. This statute enshrines the democratic norm, which took root at this

nation’s founding, that the military shall not be used for domestic purposes.

       5.      Domestic deployment of the military without legislative authority was such an

affront to the Founders that they discussed it in the Declaration of Independence, in their catalog

of George III’s tyrannical conduct: “He has kept among us, in times of peace, Standing Armies,

without the Consent of our legislatures.” The Supreme Court has warned of the dangers of a

President deploying the armed forces to disrupt the checks and balances in our Constitution. In

Youngstown Sheet & Tube Co. v. Sawyer, Justice Robert Jackson observed that no doctrine could

be “more sinister and alarming” than to allow a President to “vastly enlarge his mastery over the

internal affairs of the country by his own commitment of the Nation’s armed forces to some

foreign venture.” 343 U.S. 579, 642 (1952) (Jackson, J., concurring).

       6.      The architects of our Constitution understood that executive usurpation of

legislative powers would lead to tyranny, and they saw the separation of powers as among the

Constitution’s primary safeguards against it. Madison cautioned that “[t]he accumulation of all



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powers, legislative, executive, and judiciary, in the same hands, whether of one, a few, or many,

and whether hereditary, self-appointed, or elective, may justly be pronounced the very definition

of tyranny.” THE FEDERALIST NO. 47.

       7.      Pursuant to this constitutional framework, the President asked Congress to

authorize and appropriate certain funding for barriers at the southern border. After careful

consideration and extensive political debate within each House and with the President, Congress

enacted the 2019 Consolidated Appropriations Act. It included $1.375 billion in funding for

fencing in specific locations along the border, limiting the fencing to a previously deployed

design. President Trump signed this measure into law on February 15, 2019.

       8.      The same day the President signed the Consolidated Appropriations Act, he also

issued his Proclamation declaring a national emergency to access additional unappropriated

funds for the unauthorized construction of a border wall.2

       9.      The President’s Proclamation and accompanying White House Statement3 laid

claim to $6.7 billion that Congress did not appropriate, for the purpose of building a border wall

that Congress did not authorize. In an attempt to override the limits that Congress had enacted

and he had signed, the President purported to issue his Proclamation under the National

Emergencies Act (“NEA”), 50 U.S.C. §1601 et seq., citing 10 U.S.C. § 2808, the military

construction statute, as a funding source. He also issued a White House Statement announcing

that he would use—for the purpose of building a border wall—money that Congress had

designated for use under different laws. In particular, the Proclamation and White House

Statement direct the use of funds under 10 U.S.C. § 284, which permits the Department of


2
  References to “border wall” in this Complaint refer to any barrier or border-related infrastructure
and/or project relating to the construction of a barrier or border-related infrastructure along the
southern border that President Trump has called for and has not been approved by Congress.
3
  Statement, White House, “President Donald J. Trump’s Border Security Victory” (Feb. 15,
2019), available at https://bit.ly/2GLqvGD.

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Defense to support drug interdiction activities, and the Treasury Department’s Asset Forfeiture

Fund, which is governed by 31 U.S.C. § 9705. As explained below, none of these laws allow the

President to spend funds on constructing a border wall. That is all the more so because Congress

addressed border-fence funding specifically in the appropriations law the President signed the

same day he issued the Proclamation. And under well-established rules of statutory construction,

a specific law controls over more general laws.

       10.       Beyond this, the Proclamation itself and the President’s accompanying statements

belie the notion that there is a qualifying “emergency” within the terms of the NEA. While

announcing the Proclamation in the White House Rose Garden, the President acknowledged that

the “emergency” was his inability to persuade Congress to authorize the construction of a border

wall or to appropriate funds to do so in the manner and amount he wants. As the President said,

“I could do the wall over a longer period of time. I didn’t need to do this. But I’d rather do it

much faster.”4

       11.       By declaring a national emergency where none exists, the Proclamation also

violates long-standing laws prohibiting the military from engaging in domestic activity that

Congress has not authorized. Invoking 10 U.S.C. § 12302, the Proclamation purports to

authorize the Secretary of Defense to deploy Ready Reserve Units to the border in contravention

of laws limiting the military’s ability to engage in domestic law enforcement. The President’s

Proclamation therefore represents a dangerous abuse of executive power of the sort the Framers

of our Constitution sought to—and did—guard against.

       12.       The issuance of the Proclamation imposed concrete and immediate harms on

Plaintiffs El Paso County and the Border Network for Human Rights. El Paso County is a



4
 President Donald J. Trump, Remarks from the White House Rose Garden (Feb. 15, 2019)
available at https://bit.ly/2GAsKgG.

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flourishing border community that has already been harmed by the President’s declaration of an

emergency and faces additional imminent harm from the actions authorized by the Proclamation.

The BNHR likewise has sustained concrete harms to itself as an organization and to its members,

hundreds of families and thousands of individuals living along the border where the President

has declared an emergency, ordered the area’s militarization, and authorized construction.

       13.     Seeking redress for those harms, Plaintiffs come before this Court to ask it to

fulfill its role in our constitutional system by saying what the law is and enforcing the plain

meaning of statutes passed by Congress and the constitutional provisions on which they rest.

When the President oversteps his authority and overrides the constitutional powers of the

legislative branch, it is the appropriate role of the judicial branch to enforce the separation of

powers. See, e.g., Clinton v. City of New York, 524 U.S. 417 (1998). The executive branch often

seeks great deference from the courts in carrying out its discretionary functions, especially where

“national security” is allegedly at stake. But no such deference is owed to the executive here,

where the President is violating statutes and usurping the legislative branch’s role. The only

deference owed in this instance is to Congress and to the Constitution, which grants to Congress

the powers that the President purports to exercise. Put another way, having seized the power of

the legislative branch to make law and spend federal funds, the President may not attempt to

sideline the judicial branch by arguing that it cannot interpret and apply the law. Plaintiffs urge

this Court to reject any such entreaties. Otherwise, it would license the executive to accumulate

all powers—legislative, executive, and judicial—in just the way the Framers feared.

                                             PARTIES

       14.     Plaintiff, El Paso County, Texas, (“El Paso County”) is a county recognized as a

legal subdivision of the State. Tex. Const. art. 11, § 1. El Paso County has the constitutional and

statutory authority to set policies and regulations, raise revenue, and administer programs for its



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residents in certain areas, including administering its County judicial system and providing

health and social services to many County residents regardless of their national origin.

       15.     Plaintiff El Paso County is bilingual, bi-national, multicultural, and

geographically distinct. El Paso County has over 800,000 residents, more than 82 percent of

whom are Hispanic and more than 25 percent of whom are foreign born. It is part of the largest

border community on the Rio Grande, and one of the safest communities in the nation. El Paso

County takes great pride in protecting all its residents and its values, and has been a leader in the

fight against discrimination of all types for decades, with a special focus on protecting the civil

rights of its immigrant communities.

       16.     Plaintiff Border Network for Human Rights is a community-based membership

organization incorporated in Texas with 501(c)(3) tax-exempt status. Founded in 1998, BNHR

is one of the leading human rights advocacy and immigration reform organizations located at the

southern border. BNHR has over 4,000 members in West Texas and southern New Mexico. It

has been working with border communities for over 20 years with a mission to organize them

through human rights education and to mobilize its members to ignite change in immigration and

border enforcement policy and practice. BNHR facilitates the education, organizing, and

participation of marginalized border communities in defending and promoting human and civil

rights. BNHR supports these communities’ work to create political, economic, and social

conditions where every human being is equal in dignity and rights. BNHR brings this action on

its own behalf and on behalf of its members, who live and work in El Paso County, as well as

southern New Mexico.

       17.     Defendant Donald J. Trump is the President of the United States, and is sued in

his official capacity. He issued the Proclamation in contravention of the NEA, other statutes, and

the United States Constitution.



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         18.   Defendant Patrick M. Shanahan is the Acting Secretary of the United States

Department of Defense (“DOD”), and is sued in his official capacity. According to the

Proclamation and White House announcement of February 15, 2019, Acting Secretary Shanahan

is responsible for exercising military construction authority and spending under 10 U.S.C. §

2808, for reprogramming funds under 10 U.S.C. § 284, for deploying Ready Reserve units to the

southern border under 10 U.S.C. § 12302, and for taking other action to use or support the use of

those authorities, including, if necessary, the transfer and acceptance of jurisdiction over border

lands.

         19.   Defendant Kirstjen M. Nielsen is Secretary of the United States Department of

Homeland Security (“DHS”), and is sued in her official capacity. According to the Proclamation,

Secretary Nielsen is responsible for taking all appropriate actions to use or support the use of 10

U.S.C. § 2808 and 10 U.S.C. § 12302, including, if necessary, the transfer and acceptance of

jurisdiction over border lands.

         20.   Defendant David Bernhardt is Acting Secretary of the United States Department

of the Interior (“DOI”), and is sued in his official capacity. According to the Proclamation,

Acting Secretary Bernhardt is responsible for taking all appropriate actions to use or support the

use of 10 U.S.C. § 2808 and 10 U.S.C. § 12302, including, if necessary, the transfer and

acceptance of jurisdiction over border lands.

         21.   Defendant Steven T. Mnuchin is Secretary of the United States Treasury, and is

sued in his official capacity. According to the Proclamation and White House Statement of

February 15, 2019, Secretary Mnuchin is responsible for directing money from the Department

of Treasury Forfeiture Fund for use to build a wall at the southern border.




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                                  JURISDICTION AND VENUE

        22.     This Court has federal question jurisdiction under 28 U.S.C. § 1331 because this

action arises under the United States Constitution, the Administrative Procedure Act (“APA”),

the NEA, and other federal statutes.

        23.     The Court is authorized to award the requested declaratory and injunctive relief

under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, the APA, 5 U.S.C. § 706, and its

equitable powers.

        24.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and (e)(1). A

substantial part of the events giving rise to these claims occurred in this district, the Plaintiffs

reside in this district, and each Defendant is an officer of the United States sued in his or her

official capacity.

                          RELEVANT STATUTORY BACKGROUND

A.      The 2019 Consolidated Appropriations Act

        25.     Congress passed and the President signed into law the 2019 Consolidated

Appropriations Act on February 15, 2019. Congress enacted the measure after extensive debate,

including a government shutdown, over the appropriate funding levels for border wall

construction.

        26.     In the Consolidated Appropriations Act, Congress authorized and appropriated the

expenditure of $1.375 billion to repair certain existing border fencing or barriers and to provide

for 55 miles of new fencing in the Rio Grande Valley Sector, using a previously deployed

design. This was less funding, fewer miles of fencing, and a different design than the President

had proposed in his fiscal year 2019 budget request.




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B.     The National Emergencies Act

       27.     Congress enacted the NEA in 1976 with overwhelming majorities in both houses,

out of a recognition that Presidents were overusing the powers that Congress had granted them to

act quickly in situations where Congress lacked adequate time to do so. The NEA terminated

existing emergencies (some of which had persisted for decades) and created a new framework to

cabin the President’s authority. 50 U.S.C. § 1601 et seq. The NEA’s primary purpose was to

prevent the President from exercising unbounded authority to declare emergencies and to

continue states of emergency in perpetuity.

       28.     The NEA provides: “with respect to Acts of Congress authorizing the exercise,

during the period of a national emergency, of any special or extraordinary power, the President is

authorized to declare such national emergency.” 50 U.S.C. § 1621.

       29.     The NEA does not define the term “emergency,” so it is construed “in accordance

with [its] ordinary meaning.’” Sebelius v. Cloer, 569 U.S. 369, 376 (2013). In 1976,

“emergency” was understood, as it is today, as an unforeseen combination of circumstances that

calls for immediate action.

       30.     The NEA further provides that when the President declares the emergency, he

must specify which statutes authorize the acts he proposes to address it: “When the President

declares a national emergency, no powers or authorities made available by statute for use in the

event of an emergency shall be exercised unless and until the President specifies the provisions

of law under which he proposes that he, or other officers will act.” 50 U.S.C. § 1631.

       31.     The NEA thus permits the President to direct the use of certain resources, but only

in a qualifying emergency and only in the manner and to the extent that Congress has previously

authorized by statute. While the NEA gives the President broad authority to declare an

emergency, it does not permit the President to do so when no emergency exists, or to fabricate an



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improper or pretextual basis for the declaration. And even under a proper declaration of

emergency, the NEA does not give the President the power to do anything he wants.

          32.    The statute’s legislative history makes clear that the NEA was intended to ensure

that “the extraordinary powers which now reside in the hands of the Chief Executive . . . could

be utilized only when emergencies actually exist”; that “[r]eliance on emergency authority,

intended for use in crisis situations would no longer be available in non-crisis situations”; and

that “the United States travels a road marked by carefully constructed legal safeguards.”5 Senator

Charles Mathias, Republican from Maryland and one of the Act’s co-sponsors, called it a

“safeguard” against abuses of presidential power.

C.        The Specific Statutes and Authorities Invoked in the Proclamation

          33.    The Proclamation and accompanying White House Statement invoke 10 U.S.C. §

2808(a), which permits certain military construction activities during national emergencies; 10

U.S.C. § 284, which allows specified counterdrug activities for the Department of Defense; and

the Department of Treasury Forfeiture Fund, which is governed by 31 U.S.C. § 9705. These

statutes do not permit the President to override specific congressional appropriations for

construction at the southern border or specific authorizations for the use of the United States

military, either by their plain language or under the constitutional separation of powers.

                 1.     10 U.S.C. § 2808(a)

          34.    Article I enumerates congressional powers over the military and national defense.

Congress has the power to make and limit military appropriations, raise and support armies,

provide for and maintain a navy, declare war, and provide for organizing and calling forth the

national guard. And Congress has taken specific action to enforce its powers to oversee the

military, exercising extensive oversight and spending authority over military construction


5
    S. Rep. No. 94-1168, at 291 (1976), available at https://bit.ly/2UYaRvb.

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through the enactment of the Military Construction Codification Act and the National Defense

Authorization Act.

       35.     The Military Construction Codification Act provides a narrowly cabined

exception to the requirement of congressional authorization for all military construction projects.

It provides that, in the event the President declares war or a national emergency under the NEA

that “requires use of the armed forces,” the Secretary of Defense “may undertake military

construction projects . . . not otherwise authorized by law that are necessary to support such use

of the armed forces.” 10 U.S.C. § 2808(a).

       36.     Under 10 U.S.C. § 2808(a), a President could order military construction to

support the use of U.S. troops that were deployed to respond to a national emergency of a kind

requiring use of the armed forces. But the statute vests the authority to make the determination

of whether the national emergency “requires use of the armed forces” in the Secretary of

Defense, not the President. See 10 U.S.C. § 2808(a) (authorizing the Secretary of Defense to take

certain actions “in the event of” a national emergency “that requires use of the armed forces”). A

President’s attempt to make this determination in place of the Secretary of Defense is therefore

without force or effect. And any determination by the Secretary of Defense that “use of the

armed forces” is “require[d]” must be made consistent with the APA.

       37.     Even if a President had authority to determine that the use of the Armed Forces is

required and could thereby unilaterally invoke the powers created by section 2808, any

invocation of the statute must be consistent with the statute’s terms. The statute authorizes a

construction project “necessary to support . . . use of the armed forces,” 10 U.S.C. § 2808(a). It

does not authorize deploying the armed forces for purposes of engaging in a domestic, non-

military construction project. A non-military construction project does not become an authorized




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exercise of the statute simply by deploying troops to do the work—that approach would turn the

statute on its head.

        38.     In addition, the statute defines “military construction” in subsection (a) of 10

U.S.C. § 2801 as a project “carried out with respect to a military installation.” And “military

installation” refers to “a base, camp, yard, center, or other activity under the jurisdiction of the

Secretary of a military department.”

        39.     Decades of experience demonstrate the meaning of “military installation” for the

purposes of 10 U.S.C. § 2808. Presidents have twice invoked military construction authority

pursuant to 10 U.S.C. § 2808 and the NEA. President George H.W. Bush invoked the pair of

statutes during Operation Desert Shield, and President George W. Bush invoked them in the

aftermath of the terrorist attacks of September 11, 2001. According to the Congressional

Research Service, “from 2001 through 2014, the [Department of Defense] funded a total of 18

projects under 10 U.S.C. § 2808, after the President invoked the NEA, with a combined value of

$1.4 billion. With the exception of one project dating from December 2001 related to security

measures for weapons of mass destruction at sites in the continental United States, most of the

projects took place at overseas locations.”6 Military construction projects funded under the NEA

have included, inter alia, barracks and airport runways in Afghanistan and courthouse security at

the U.S. Naval Base at Guantanamo Bay.

                2.     10 U.S.C. § 284

        40.     Congress authorized and funded the Department of Defense to support certain

counterdrug activities under 10 U.S.C. § 284. Within limits, one type of support enumerated in




6
 Michael J. Vassalotti & Brendan W. McGarry, Military Construction Funding in the Event of a
National Emergency, Congressional Research Service (Jan. 11, 2019), available at
https://bit.ly/2Ipi3zi.

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section 284 is “[c]onstruction of roads and fences and installation of lighting to block drug

smuggling corridors across international boundaries of the United States.” 10 U.S.C. § 284(b)(7).

       41.     In enacting 10 U.S.C. § 284, Congress authorized the Defense Secretary only “to

provide support” for the counterdrug activities of other agencies, not to undertake a major

construction project (emphasis added). The plain language of the statute makes that clear.

Subsection (h)(1)(B) requires the Defense Secretary to give Congress fifteen-days’ written notice

before providing such support, including “a description of any small scale construction project

for which support is provided” (emphasis added). The statute defines “small scale construction”

as “construction at a cost not to exceed $750,000 for any project.” Congress would not have

required a description of “any small scale construction” projects if it was, at the same time,

authorizing support for $2.5 billion of fences. Cf. Whitman v. Am. Trucking Ass’ns, Inc., 531

U.S. 457, 468 (2001) (“Congress . . . does not, one might say, hide elephants in mouseholes.”).

       42.     The scale of the “[c]onstruction of road and fences . . . to block drug smuggling

corridors across international boundaries” authorized by 10 U.S.C. § 284 must also be

understood relative to the scale of the other types of “support” authorized by the statute. Those

include providing maintenance and repair of equipment, transporting personnel, and

“establish[ing] (including an unspecified minor military construction project) and operat[ing]

bases of operations or training facilities for the purpose of facilitating counterdrug activities.” 10

U.S.C. § 284(b)(4) (emphasis added). None of these are on the scale of constructing a multi-

billion-dollar border wall.

       43.     Furthermore, the entirety of the 1,954-mile southern border does not constitute a

“drug smuggling corridor” under 10 U.S.C. § 284(b)(7). The term “corridor” refers to a

passageway. At most, section 284(b)(7) allows support for up to $750,000 of fencing along




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specific passageways across which drug smuggling is known to occur, not an extensive barrier

along the international border.

               3.      The Treasury Department’s Forfeiture Fund

       44.     The President has announced that up to $601 million will be drawn from the

Department of the Treasury Forfeiture Fund to fund the border wall.

       45.     Congress, however, placed clear restrictions on the use of that Fund. Those

restrictions are found in 31 U.S.C. § 9705. There, Congress expressly limited the Secretary of

Treasury’s use of the Treasury Forfeiture Fund to specific purposes, including maintaining the

fund itself, paying overtime and salaries of law enforcement officers, paying informants, and

upgrading law enforcement vehicles.

       46.     Construction projects are not among the authorized uses of the Treasury

Forfeiture Fund.

                                  FACTUAL ALLEGATIONS

A.     After extensive debate, Congress has enacted, and the President has signed into law,
       appropriations for a limited amount of funding for border construction.

       47.     Since at least 1996, Congress has exercised its legislative authority with respect to

issues surrounding the southern border and, more specifically, has limited the funding and

construction of fencing along the border.

       48.     In 1996, for example, Congress passed the Illegal Immigration Reform and

Immigrant Responsibility Act of 1996 (IIRIRA) (Pub. L. 104-208, div. C), section 102 of which

authorized no more than $12 million for construction of fencing and road improvements near the

San Diego, CA border. IIRIRA Section 102(b)(4) also sets out express limitations on mileage,

stating that “the Attorney General shall provide for the construction along the 14 miles of the

international land border of the United States, starting at the Pacific Ocean and extending




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eastward, of second and third fences, in addition to the existing reinforced fence, and for roads

between the fences.” (emphasis added).

         49.     In 2006, Congress amended Section 102(b) of IIRIRA (Pub. L. 104 208; 8 U.S.C.

§ 1103) to mandate fencing in specific and geographically-defined places. For example,

Congress mandated fencing extending only 10 miles west and 10 miles east of the Tecate, CA

port of entry; 10 miles west of the Calexico, CA port of entry and five miles east of the Douglas,

AZ port of entry; five miles west of the Columbus, NM port of entry and 10 miles east of the El

Paso, TX port of entry; five miles northwest of the Del Rio, TX port of entry and five miles

southeast of the Eagle Pass, TX port of entry; and 15 miles northwest of the Laredo, TX port of

entry to the Brownsville, TX port of entry.7

         50.     In 2007, Congress passed the Department of Homeland Security Appropriations

Act of 2007 (H.R. 5441), appropriating $1,187,565,000 “for customs and border protection

fencing, infrastructure, and technology.”

         51.     In 2008, Congress passed the Consolidated Appropriations Act of 2008 (Pub. L.

110-161, div. E), appropriating $1,225,000,000 for customs and border protection fencing,

infrastructure, and technology, and directing the Secretary of Homeland Security to “construct

reinforced fencing” only “where fencing would be most practical and effective.”

         52.     In 2018, Congress enacted the Consolidated Appropriations Act (H.R. 1625),

again expressly setting limits as to both money and miles. Section 230 of this Act limited border

funding to $1,571,000,000, for “[p]rocurement, [c]onstruction and [i]mprovements” along the

southern border, to be distributed in specific amounts for specific projects at specific locations.

         53.     Congress rejected numerous other proposed pieces of legislation for more funding

for a border wall.


7
    Secure Fence Act of 2006, Pub. L. 109-367, §3 (2006).

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       54.       In early 2019, the President asked Congress to appropriate $5.7 billion for

constructing border barriers. He also asked Congress to approve border barrier construction in

any location and using any design. Congress considered these proposals in the “End the

Shutdown and Secure the Border Act” (Senate Amendment 5 to H.R. 268), but the Senate

rejected them.

       55.       Instead, Congress enacted the 2019 Consolidated Appropriations Act (H.J. Res.

31) which provides $1.375 billion for “the construction of primary pedestrian fencing, including

levee pedestrian fencing, in the Rio Grande Valley Sector,” per Section 230. The Act does not

provide any funding for fencing in or within hundreds of miles of El Paso, Texas. The Act also

restricts the fencing to that which uses a previously developed design, prohibits construction of

fencing within several wildlife areas along the southern border, requires DHS and local officials

to reach mutual agreement about the design and alignment of physical barriers within each

border city, and provides for a notice and comment period.

       56.       President Trump signed this bill into law on February 15, 2019.

B.     After signing the Consolidated Appropriations Act, the President issued a
       Proclamation and Statement declaring an emergency and directing the government
       to spend additional funds on border fencing.

       57.       On the same day the President signed the Consolidated Appropriations Act,

February 15, 2019, he also issued the Proclamation along with an accompanying White House

Statement setting forth the authority under which he purported to act. The Proclamation seeks to

declare a national emergency under the National Emergencies Act and to direct federal agencies

to take action at the southern border under certain specified statutes. The White House Statement

issued with the Proclamation further states that $6.7 billion additional funds “will be available to

build the border wall” upon declaration of an emergency. This includes $601 million from the

Treasury Forfeiture Fund; up to $2.5 billion under the Department of Defense funds transferred



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from Support for Counterdrug Activities (10 U.S.C. § 284); and up to $3.6 billion reallocated

from Department of Defense military construction projects under the President’s declaration of a

national emergency (10 U.S.C. § 2808). The White House Statement indicates that “[n]ew

projects could include: new levee wall, new and replacement primary pedestrian barrier, new

vehicle-to-pedestrian barrier, and new secondary barrier.”8

       58.     The Proclamation does not acknowledge the 2019 Consolidated Appropriations

Act the President signed the very same day he issued the Proclamation. Nor does it acknowledge

other specific Acts of Congress, set forth above, which govern construction of border fencing.

C.     The Proclamation does not meet the NEA’s definition of “emergency.”

       59.     As set forth above, the NEA permits the President to act in unforeseen situations

that need action so immediate that only the President is capable of ordering it. That is the

opposite of what the President has done here.

       60.     As alleged, supra, Congress has acted repeatedly to make policy and to

appropriate funds for construction on the southern border over a sustained period of time. And

the President has repeatedly acknowledged that the situation at the border is not unforeseen and

that he was not compelled to act with immediacy to respond to it.

       61.     The President and Congress have disagreed over how to address immigration and

drug enforcement issues at the southern border for the entirety of the President’s time in office.

President Trump campaigned on the promise of building a wall along the length of the southern

border that Mexico would pay for. During the first two years of his presidency, after it became

clear that Mexico would not be paying for the promised border wall, Congress declined to grant




8
 Statement, White House, President Donald J. Trump’s Border Security Victory (Feb. 15,
2019), https://www.whitehouse.gov/briefings-statements/president-donald-j-trumps-border-
security-victory/.

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the President’s full requests for funding for new border barriers, notwithstanding that the

President’s party controlled both chambers of Congress.

       62.     For fiscal year 2017, Congress voted to appropriate $341 million to DHS to

replace existing barriers on the southern border.9 For fiscal year 2018, Congress voted to

appropriate $1.57 billion to build or replace fencing on the southern border.10

       63.     The disagreement came to a head prior to the 2018 midterm elections and

escalated after Democrats won control of the House of Representatives (but before the new,

Democratic-controlled House, was sworn in). As part of his proposed 2019 budget for DHS,

President Trump twice requested that Congress appropriate $1.6 billion for the construction of 65

miles of new border wall.11 Congress three times rejected that request: twice before the 2018

midterm elections, when both houses of Congress were controlled by Republicans, and once

after, when Democrats won control of the House of Representatives.

       64.     There was no absence of action by Congress on border security policy. There was

no absence of action by Congress on funding for border fences. And there was no lack of time

for Congress to act.

       65.     In December 2018 and January 2019, the President refused to sign a budget

resolution that did not contain funding for construction of a border wall, resulting in a 35-day

partial government shutdown. The shutdown ended when the President agreed to sign a three-

week continuing resolution with $1.6 billion in appropriations for border security, but no funds

for new border wall construction.




9
  Consolidated Appropriations Act of 2017, Pub. L. No. 115-31, 131 Stat. 433-34 (2017).
10
   Consolidated Appropriations Act of 2018, Pub. L. No. 115-141, H.R. 1625—269 (2018).
11
   See, e.g., Office of Mgmt. & Budget, An American Budget: Budget of the U.S. Government—
Fiscal Year 2019 (Feb. 12, 2018), available at https://bit.ly/2nTPE7s.

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       66.     On January 4, 2019, in the midst of the budget standoff, the President began

threatening to reframe his policy dispute with Congress as an “emergency.” On that day, the

President asserted that if Congress did not give him the border wall funding he wanted, he would

declare a national emergency as an alternative. He called the Proclamation “another way of

doing it” if he could not achieve his agenda through “a negotiated process”: “We can call a

national emergency because of the security of our country, absolutely. No, we can do it. I haven’t

done it. I may do it. I may do it, but we could call a national emergency and build [the wall] very

quickly, and it’s another way of doing it. But if we can do it through a negotiated process, we’re

giving that a shot.”

       67.     Thereafter, on multiple occasions over the ensuing six weeks, the President

publicly asserted that a he had the power to declare an emergency. But he acknowledged both in

his words and his actions that there was no immediate need to declare one, saying at various

times that he would not do it “right now,” or “so fast.” Instead, the President characterized his

claimed emergency power as a backup plan “if I can’t make a deal with people [in Congress] that

are unreasonable.” This posture stands in direct contradiction with the purpose of the NEA,

which is to empower the President to act when, because of the unforeseen nature of the

emergency, Congress lacks the time to do so.

       68.     Following a series of warnings over several weeks, the President finally declared

an emergency at the southern border after signing the Consolidated Appropriations Act, which

limited appropriations for border fencing to a lower amount and fewer miles than he wanted for

construction of a border wall. During his announcement of his Proclamation declaring an

emergency, and after recounting his disagreement with Congress over funding for a border wall,

the President said that “I didn’t need to do this.”




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       69.     The President’s Proclamation marks the first time a President has used the NEA

to contravene the clearly expressed will of Congress on a policy and appropriations matter.

       70.     The President’s Proclamation states that the “emergency” at the southern border

derives from the fact that the southern border is “a major entry point for criminals, gang

members, and illicit narcotics.” But this problem is not new, and in fact, most illegal drugs enter

the country through legal ports of entry.12 The President also cites “the problem of large-scale

unlawful migration through the southern border,” but acknowledges that it is “long-standing.”

Indeed, illegal crossings at the southern border have declined dramatically over time. He also

cites a “sharp increases in the number of family units entering and seeking entry to the

United States and an inability to provide detention space for many of these aliens while their

removal proceedings are pending.” However, most migrants come to the border to present

themselves for asylum, which they have a legal right to do under 8 U.S.C. § 1158(a). The

Proclamation is thus based on false factual predicates.

       71.     In addition, there is nothing unforeseen about the “emergency” the President’s

Proclamation describes at the southern border. Even if it were true, there is nothing unforeseen

about the border being a “major entry point for criminals, gang members, and illicit narcotics.”

Moreover, the Proclamation describes “unlawful migration” as a “long-standing” problem.

       72.     A President’s wish for more money to build a border wall, based on decades-old

issues, does not meet the definition of an emergency. And construction, in whatever form, is not

an “immediate” solution to the longstanding “emergency” the President has discussed since he

announced his candidacy in 2015.




12
  Alan Gomez, Fact-Checking Trump Officials: Most Drugs Enter US Through Legal Ports of
Entry, Not Vast, Open Border, USA TODAY (Jan. 16, 2019), https://bit.ly/2GUa0I5.


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        73.    Furthermore, an “emergency” is not something that is addressed after a purposeful

weeks-long delay.

        74.    The President issued his Proclamation six weeks after first suggesting that he

could use a national emergency for funding that Congress decided to withhold. During that time,

Congress voted multiple times not to fund a border wall.

        75.    President Trump’s treatment of an emergency Proclamation as a back-up plan to

be invoked only if Congress rejected his policy proposal, along with his usurpation of Congress’s

role on an appropriations issue, establish that the President’s Proclamation does not address an

“emergency” within the meaning of the NEA and that this Court should enjoin its

implementation.

D.      The Proclamation directs activities that are not authorized by the statutes it invokes.

        76.    Even if the Proclamation did lawfully invoke the NEA, the statutes and authorities

cited in the Proclamation and White House Statement do not permit construction of a border

wall.

        77.    The principal funding statute cited in the Proclamation is 10 U.S.C. § 2808. But

this statute does not permit the President to fund border-barrier construction that Congress has

not authorized. To begin, because the 2019 Consolidated Appropriations Act, like the 2018 Act,

specifically addresses border fencing, section 2808 simply does not apply.

        78.    Moreover, section 2808 does not authorize border-barrier construction even if

there were a bona fide emergency. As set forth above, in the event of a declaration of an

emergency that (1) “requires use of the armed forces,” this statute permits the Secretary of

Defense to (2) “undertake military construction projects . . . that are necessary to support such

use of the armed forces.”




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        79.     The Proclamation does not satisfy either of these two statutory requirements for

invoking section 2808. First, the Proclamation itself counters the claim that an emergency

“requires use of the armed forces.” The Proclamation describes criminal law and humanitarian

challenges, as well as long-standing civilian problems on the border—but does not articulate any

situation that requires the use of the armed forces.

        80.     Second, the construction of a border wall does not qualify as “military

construction” as defined by subsection (a) of 10 U.S.C. § 2801, which describes “military

construction” as a project “carried out with respect to a military installation.” And in subsection

(c)(4), “military installation” refers to “a base, camp, post, station, yard, center, or other activity

under the jurisdiction of the Secretary of a military department.” But “[a] border wall, by

contrast, is a civilian structure to be manned by civilian authorities to perform a civilian mission.

The troops would not be creating a military fortification for military use.”13

        81.     The non-military nature of this construction project is reinforced by two decades

of experience. Since 1996, hundreds of miles of southern border barriers have been built without

any use of the armed forces. Likewise, policing the southern border has been the function of the

Department of Homeland Security, and prior to that the Immigration and Naturalization Service,

not the military.14

        82.     Beyond that, the construction of a border wall is not (in the language of section

2808) “necessary to support [the required] use of the armed forces.” The Proclamation turns the

statute on its head, seeking to mobilize the armed forces to engage in a civilian construction




13
   David French, Trump’s Emergency Declaration Is Contemptuous of the Rule of Law,
NATIONAL REVIEW (Feb. 15, 2019), https://bit.ly/2TWwY56.
14
   Federation for American Immigration Reform, The Current State of the Border Fence, (Jan.
2017), https://www.fairus.org/issue/national-security/current-state-border-fence.

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project; not to engage in a construction project necessary to support the mobilization of the

armed forces.

       83.      Section 284 also does not permit using the funds Congress has designated for

counterdrug programs for border-barrier construction. As explained above, this statute only

allows DOD to provide support for designated small-scale construction projects—not to fund its

own large-scale construction.

       84.      The Treasury Forfeiture Fund, invoked in the White House Statement, also cannot

be used to fund barrier construction at the border. The statute governing the Fund articulates

certain lawful purposes—but construction is not one of them. 31 U.S.C. § 9705.

E.     The Issuance of the Proclamation Injures Plaintiffs El Paso County and the BNHR.

       85.      The President’s Proclamation, through its declaration of an emergency on the

border and invocation of statutes allowing military mobilization, causes immediate and concrete

injury to border communities, including Plaintiffs.

       86.      During the latter half of the Twentieth Century, El Paso County, anchored by the

City of El Paso, grew as a population and economic center. In addition to housing Fort Bliss, it

was a center for copper mining, oil refining, and the garment industry. In the 1990s, the economy

of the region underwent a significant shift with the signing of the North American Free Trade

Agreement. Lower-wage manufacturing labor across the border displaced low-wage

manufacturing, such as textiles, in El Paso County. El Paso County’s services industry grew in

its place. According to the Federal Reserve Bank of Dallas El Paso Branch, “The growth of the

service sector . . . more than offset the decline in manufacturing employment.”15




15
 Jesus Cañas, A Decade of Change: El Paso’s Economic Transition of the 1990s, EL PASO
BUSINESS FRONTIER (2002), https://bit.ly/2BLqhMh.

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       87.      El Paso County and the City within it emphasize tourism as a local economic

driver and have various programs for the explicit purpose of attracting visitors to El Paso. Since

2016, the County has invested $1,137,582 in tourist promotion, which includes promoting the

historic Mission Trail. For that same time period, El Paso County has also spent $13,003,405 in

operating the El Paso Coliseum, which, located approximately half a mile from the border, draws

visitors from all over the country for various entertainment acts. The results of the County’s

promotion of tourism have been impressive. The number of people visiting El Paso has steadily

increased since 2014.16 This has led to an increase in the number of jobs in the region dedicated

to the travel and hospitality industries, as well as increases in government revenues stemming

from tourism.

       88.      The Rio Grande Council of Governments (“RGCOG”), which is an association of

local governments established under state law that includes El Paso County, has recognized that:

“The travel industry makes a substantial contribution to local government tax revenue across the

[West] Texas counties. Local tax revenue is collected by counties and municipalities, as levied

on applicable travel-related businesses and includes the transient lodging and local sales taxes.

The economic impact of tourism in most [West] Texas Counties has increased consistently from

2010 to 2015.”17 This increase includes El Paso County.

       89.      A central driver of El Paso County’s success has been the remarkable safety of the

community, and just as importantly, the national perception of El Paso County and its environs

as a safe destination to live, work, and travel. The City of El Paso, located within El Paso

County, has been recognized as one of the top 10 safest cities in the country for two consecutive


16
   Michael Ikahihifo, Tourism in El Paso Is on the Rise, KFOX14 (Apr. 12, 2018),
https://bit.ly/2GC2PVB.
17
   Rio Grande Council of Governments, West Texas Economic Development District: 2016-2020
Comprehensive Economic Development Strategy (Jan. 27. 2017), available at
https://bit.ly/2NiIeWX.

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years based on its low rates of violent crime and property crime.18 El Paso’s murder rate is

approximately half that of the national average19 and much lower than that of other major

cities.20

          90.   Although the President has claimed that El Paso’s crime rate dropped when

border barriers were constructed in El Paso, that is not true. Violent crime in the City of El Paso

has fallen steadily since the mid-90s, mirroring crime trends around the country. Even while this

trend has been national, El Paso’s crime rates have been substantially lower than other areas its

size.21

          91.   These conditions have not just allowed for growth in tourism and revenue in

recent years in El Paso County; they are the foundation upon which El Paso County has already

planned for future growth. In 2017, the RGCOG’s Board of Directors, which also serves as the

West Texas Economic Development District (“WTEDD”), updated the 2016-2020

Comprehensive Economic Development Strategy (“CEDS”) for the WTEDD. This Strategy lays

out El Paso County’s economic development plans for the next several years and informs County

decision-making and local economic planning. It projects that the region “will become a

preferred area for businesses creation and relocation looking for,” among other things, “[h]igh

quality of life for new and existing residents.”22 It bases this projection, in part, on an assessment

that one of the “strengths” of the region is “[a]mple availability of land at affordable prices,” and

that an “opportunity” for the region is the “[i]ncrease[d] awareness of the region’s strong



18
   Press Release, City of El Paso, City of El Paso Named Second Safest City in America (Aug.
2017), available at https://bit.ly/2TZkGsX.
19
   Jane C. Timm, Fact Check: Trump Claims a Wall Made El Paso Safe. Data Shows Otherwise,
NBC NEWS (Feb. 11, 2019), https://nbcnews.to/2BxGyo2.
20
   Ames Grawert and Cameron Kimble, Crime in 2018: Updated Analysis, Brennan Center for
Justice (Dec. 2018), https://bit.ly/2sWnQlh.
21
   Id.
22
   Rio Grande Council of Governments, supra note 17.

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assets.”23 But it warns of several weaknesses that could impair growth, including “[n]egative

perceptions of low quality and high crime,” “[l]osses due to inefficiency in border crossings,”

and “[t]ourism slumps.” And most notably and especially relevant to this complaint, it cites as a

“threat” to future growth: “[p]erception of unrest along the Mexico border.”24

       92.     Prior to issuance of the Proclamation, President Trump’s messages about El Paso

were mixed. Most dominantly, he has repeatedly warned of the crisis levels of drugs, gang

violence, and crime taking place in border communities like El Paso. Yet he also has said that

while El Paso was once one of the most dangerous places in the country, it is “one of America's

safest cities now.”25 He attributed that supposed change to the construction of border barriers

within El Paso, but that is not true. El Paso was a low-crime area even before sections of wall

were added in the 2000s. When El Pasoans attempted to fact check the President’s misleading

claims about their region by pointing out that El Paso has long been one of the safest places in

America, the President responded by accusing El Paso of trying to doctor crime data, saying at a

February 11, 2019 political rally in El Paso: “they’re full of crap.”26

       93.     The President then superseded this dispute with his emergency Proclamation,

which described the southern border where both El Paso County and the Border Network for

Human Rights are located as the site of a “humanitarian crisis that threatens core national

security interests and constitutes a national emergency.”27 He went on to use the full force of the

federal government to officially declare that “[t]he southern border is a major entry point for

criminals, gang members, and illicit narcotics,” and, contrary to his statements at the El Paso


23
   Id.
24
   Id.
25
   President Donald J. Trump, State of the Union Address (Feb. 5, 2019), available
at https://bit.ly/2BmeYdo.
26
   Justin Wise, Trump: People Saying Wall Hasn't Made Difference in El Paso Are ‘Full of
Crap’, THE HILL (Feb. 11, 2019), https://bit.ly/2SJydar.
27
   Proclamation, supra note 1.

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rally, that “the situation has worsened in certain respects in recent years.” The White House

issued a Statement calling the area “highly dangerous.”28 The President declared that the

situation at the border where plaintiffs are located is so bad that it requires a militarization effort

and the deployment of the Armed Forces.

         94.       The President’s Proclamation and the activity it directs by its very issuance create

the negative perception the County has sought to counter. In particular, the Proclamation is an

official government statement that the southern border is the site of crisis levels of crime and low

quality of life.

         95.       The President’s re-appropriation of billions of dollars of funds to militarize the

region sends an immediate message to businesses or travelers thinking of spending time or

money in El Paso County that it will be a far less attractive place to work, visit, or live.

         96.       Because the President’s Proclamation has, by its very signing, materialized the

weaknesses and threats identified by El Paso County as to what would derail future economic

growth in its strategic economic plan for 2016-2020, the County must now repurpose resources

to respond to the President’s action, plan for revenue changes, and devote resources that would

have gone to other activities and services for its residents to this planning and the actions it

requires. County officials have already devoted significant amounts of human resource hours to

planning a response to the Proclamation and its effects on the County’s residents and economy.

         97.       In addition, Plaintiff El Paso County is injured by the Proclamation’s frustration

of the County’s national campaign to promote El Paso’s history and culture and its ongoing

efforts to attract visitors to the County who will spend money and engage in commerce. People

all over the country are deterred from coming to El Paso County by the presidential designation

of a national emergency there.


28
     White House Statement, supra note 3.

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       98.     Plaintiff El Paso County is further injured by the Proclamation’s mandate for

construction and the deployment of troops to the border. El Paso County relies on its geographic

location, local history, environment, and natural beauty to attract development. El Paso County’s

resources and development efforts are harmed by disruptive construction, seizure of private

property, noise and air pollution, and the blocking of aesthetic views of the local scenery.

       99.     These collective harms, including reputational harm to El Paso County, result in a

decline in revenue for the County, causing damage to the County fisc.

       100.    During the period in which El Paso County was experiencing both a decline in

crime and growth in economic activity and population, various community organizations were

central players in the region’s turnaround. One of those organizations is Plaintiff Border Network

for Human Rights.

       101.    Plaintiff BNHR provides a variety of services and programs for families living

near the southern border. These services include working with the community and local and

federal law enforcement to promote public safety, informing residents of their civil rights, and

conducting campaigns to integrate residents of El Paso and neighboring communities into city

government, public safety departments, and the local economy. BNHR has devoted and

continues to devote substantial resources to advocacy opposing additional construction of border

barriers and militarization of the border in order to protect the interests of BNHR as an

organization and of its members.

       102.    The Proclamation’s mandate for construction and the deployment of troops to the

border injures BNHR in at least three ways. First, it has forced BNHR to divert organizational

resources from its normal programming to respond to the President’s Proclamation. In the

aftermath of the President’s Proclamation, BNHR has been forced to spend resources responding

to the consequences of the Proclamation, including counseling and responding to concerns from



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members about the effects of the Proclamation on their well-being, their property and rights, and

their opportunities to engage in public advocacy to mitigate the damage to BNHR members. In

addition, BNHR is shifting and spending resources to recruit and train attorneys to handle the

increase in incoming complaints and concerns that the Proclamation is generating among its

members. The demand for these resources is causing BNHR to divert resources from two

programs that are central to its mission. One is BNHR’s immigration reform advocacy

campaign. The other is BNHR’s annual Hugs Not Walls event, which aims to build trust

between the community and law enforcement, including border patrol. For years, border patrol

granted BNHR a permit to reunite families—for a day—along the Rio Grande canal. Due to the

Proclamation and the diversion in resources it is requiring, BNHR has been forced to cancel the

event for 2019. The Proclamation, therefore, has caused the waste of both human and monetary

resources that BNHR spent in preparation for upcoming Hugs Not Walls events.

       103.    Second, the Proclamation’s mandate for construction and the deployment of

troops to the border injures BNHR’s organizational mission. As alleged above, the Proclamation

is impairing BNHR’s key programs of immigration reform advocacy and initiatives to build trust

and engagement between law enforcement and community members. The Proclamation has

stigmatized BNHR’s community members, reducing their ability and willingness to cooperate

with local and federal law enforcement. This stigmatization frustrates BNHR’s mission and

campaigns, and increases the public safety risk for its members. And the President’s order that

additional Armed Forces are necessary at the border is requiring BNHR to prepare and plan for

how it will achieve its mission of building trust between its members and law enforcement when

it now expects an influx of law enforcement and military personnel from outside the community

with whom it will need to start its mission-based activities anew.




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        104.    Third, the Proclamation’s mandate for border wall construction and deployment

of troops harms BNHR’s member families’ quality of life by creating public safety issues and

high levels of noise and other forms of pollution from military and construction activity. The

Proclamation and wall construction also impair BNHR members’ ability to enjoy the natural

environment in which they have made their homes. And lastly, the Proclamation and

accompanying White House Statement in intent and effect have stigmatized immigrant

communities, heightening racial tensions and causing fear among BNHR’s member families. The

President’s Proclamation and pledge to militarize the area because of threats he claims are

caused by immigrants at the border have caused BNHR’s member families to suffer. They

reasonably fear race-based violence towards them as a result of the false claims on which the

Proclamation is based. They also reasonably fear an influx of law enforcement with whom they

have not built up the levels of trust that BNHR has worked for years to cultivate in the El Paso

community. The President's Proclamation will thus put BNHR’s member families at greater risk

of rights violations. As a result of all of this, they fear increased public safety risks for children

and for the community, which they must takes steps now to mitigate unless and until the

President’s unlawful action is stopped.

        105.    For at least these reasons, the Proclamation has caused immediate and concrete

injury to El Paso County and to BNHR. That injury would be remedied by a declaration from

this Court that the President’s Proclamation is unlawful and by an order from this Court

enjoining the Proclamation from taking any effect or federal officials from acting upon it.




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                                      CLAIMS FOR RELIEF

                                         COUNT I
(Ultra Vires Action in Violation of Federal Funding Statutes, the National Emergencies Act,
                  10 U.S.C. § 2808, 10 U.S.C. § 284, and 31 U.S.C. § 9705)

        106.     The foregoing allegations are realleged and incorporated by reference herein.

        107.     Congress has enacted a series of specific statutes that limit the location, type, and

funding of additional fencing at the southern border. In particular, Congress enacted and the

President signed into law the 2019 Consolidated Appropriations Act, which specifically limited

the level and nature of appropriations for border fencing, the location of new fencing, and the

design of new fencing. The Proclamation and accompanying White House Statement direct

construction of a wall that violates each of these limits on new border fencing appropriations,

locations, and design. As such, they are ultra vires.

        108.     The Defendants’ ultra vires invocation of general statutes to override the relevant

and specific limits in the Consolidated Appropriations Act inflicts ongoing harm upon the

Plaintiffs.

        109.     The Defendants’ invocation of the NEA to justify spending that Congress refused

to authorize is also ultra vires.

        110.     The Defendants’ invocation of 10 U.S.C. § 2808 to undertake military

construction—i.e., a border wall—at the U.S.-Mexico border is ultra vires because it is not a

construction project that supports the use of the armed forces and is it not “military

construction.”

        111.     The White House announced on February 15, 2019, that it would also fund $2.5

billion of additional wall pursuant to 10 U.S.C. § 284. But $2.5 billion in funding is not

“support” under that statute, which permits only support of small-scale construction projects, not

to exceed $750,000, such as fencing along specific “drug smuggling corridors.”



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        112.      The President also cannot fund $601 million of the border wall from the

Department of the Treasury Forfeiture Fund because 31 U.S.C. § 9705 restricts use of those

funds to specified purposes, none of which include construction projects, much less projects for

which there have been appropriations in limited amounts under other statutes.

        113.      The Proclamation is also ultra vires because it exceeds the President’s authority to

declare a national emergency under the NEA. The NEA provides that “[w]ith respect to Acts of

Congress authorizing the exercise, during the period of a national emergency, of any special or

extraordinary power, the President is authorized to declare such national emergency.” 50 U.S.C.

§ 1621(a). An “emergency” must be an unforeseen combination of circumstances that calls for

immediate action. The President’s declaration of emergency does not meet this or any other

reasonable definition.

        114.      Plaintiffs have a right of action to redress unlawful action by the President that

exceeds his statutory authority.

        115.      Defendants’ ultra vires violation of the NEA and specific and general funding

statutes inflicts ongoing harm upon the Plaintiffs.

                                               COUNT II
                          (Article I, Section 8, Clause 1—Spending Clause)
        116.      The foregoing allegations are realleged and incorporated by reference herein.

        117.      Plaintiffs have a right of action to enjoin and declare unlawful official action that

is ultra vires.

        118.      The Constitution grants to Congress the exclusive power to spend money on

behalf of the United States and the exclusive power to enact and pass laws in accordance with

the general welfare of the United States.




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        119.      Article I, Section 8, Clause 1 provides “[t]he Congress shall have Power to lay

and collect Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the common

Defence and general Welfare of the United States.”

        120.      President Trump’s Proclamation violates the Spending Clause and is ultra vires

by misusing the NEA and other statutes to override Congress’s express refusal to pass legislation

funding the very physical barrier at the southern border that President Trump now seeks to build.

        121.      Defendants’ violation of the Spending Clause inflicts ongoing harm upon the

Plaintiffs.

                                              COUNT III
                      (Article I, Section 9, Clause 7—Appropriations Clause)
        122.      The foregoing allegations are realleged and incorporated by reference herein.

        123.      Plaintiffs have a right of action to enjoin and declare unlawful official action that

is ultra vires.

        124.      The Constitution grants to Congress the exclusive power to spend money on

behalf of the United States and to designate the purpose for which the money shall be spent.

        125.      Article I, Section 9, Clause 7 provides “[n]o Money shall be drawn from the

Treasury, but in Consequence of Appropriations made by Law.”

        126.      President Trump’s Proclamation violates the Appropriations Clause and is ultra

vires by misusing the NEA and other statutes to override Congress’s express refusal to pass

legislation appropriating funds very physical barrier at the US-Mexico border that President

Trump now seeks to build.

        127.      Defendants’ violation of the Appropriations Clause inflicts ongoing harm upon

the Plaintiffs.




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                                                  COUNT IV
                             (Articles I, II, Article III – Separation of Powers)
        128.     The foregoing allegations are realleged and incorporated by reference herein.

        129.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful

official action that is ultra vires.

        130.     The Spending Clause grants Congress the “Power To lay and collect Taxes . . . to

pay the Debts and provide for the common Defence and general Welfare of the United States.”

U.S. Const. art. I, § 8, cl. 1.

        131.     The Appropriations Clause of the U.S. Constitution provides that “No Money

shall be drawn from the Treasury, but in Consequence of Appropriations made by Law.” U.S.

Const. art. I, § 9, cl. 7.

        132.     The Constitution grants the President neither such power, per established

separation of powers principles. See, e.g., U.S. Const. art. II, § 3.

        133.     Defendants have purported to exercise powers that Congress repeatedly and

specifically withheld, and in direct transgression of specific limits imposed by validly enacted

statutes, thereby violating the constitutional principle of Separation of Powers.

        134.     Defendants’ violation of the Separation of Powers inflicts ongoing harm on the

Plaintiffs.

                                        COUNT V
(Violation of the Administrative Procedure Act Through Violations of the Constitution, the
               NEA, 10 U.S.C. § 2808, and Arbitrary and Capricious Action)
        135.     The foregoing allegations are realleged and incorporated by reference herein.

        136.     The APA requires courts to hold unlawful and set aside any agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law”; “contrary

to constitutional right, power, privilege, or immunity”; or “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(A)-(C). Defendants have



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acted contrary to the Spending and Appropriations Clauses of Article I of the United States

Constitution, the NEA, and the statutes purportedly authorizing action under the Proclamation.

        137.   Further, upon information and belief, in enacting and implementing the

President’s Proclamation, Defendants have acted arbitrarily and capriciously. Among other

arbitrary actions and omissions, Defendants have not explained the rational nexus between

construction of the border wall and any “emergency” conditions that would be remedied

immediately.

        138.   Through their actions as described in this Complaint, Defendants have violated

the substantive requirements of the APA. Defendants’ violations inflict ongoing harm upon the

Plaintiffs.

                                          COUNT VI
                                    (The Take Care Clause)
        139.   The foregoing allegations are realleged and incorporated by reference herein.

        140.   The Proclamation violates the President’s constitutional duty to “take Care that

the Laws be faithfully executed.” U.S. Const. art. II, § 3, cl. 5. The Supreme Court has called

this duty the President’s “most important constitutional duty.” Lujan v. Defs. of Wildlife, 504

U.S. 555, 577 (1992).

        141.   This duty of “faithful” execution of the laws imposes on the President a duty to

act in good faith in his execution of the laws. That encompasses an obligation to act honestly—

in good faith—in rendering declarations, determinations, and findings that he may only render

because of a delegation of authority from Congress.

        142.   The President has not acted in good faith in his declaration that there exists a

national emergency of the type described in the NEA. President Trump has access to

information sources that renders in bad faith his repeated reliance on demonstrably false claims

to support a declaration of a national emergency and to support other findings or determinations.


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       143.      The President has not acted in good faith in rendering his determination that the

purported national emergency “requires” the use of the military. President Trump’s public

statement that “I didn’t need to” declare a national emergency shows that his purported

determination that the situation at the southern border “requires” use of the armed forces is not

made in good faith. Moreover, by declaring an emergency as an express response to legislation

enacted by Congress, that specifically limits border fence funding, President Trump has not acted

in good faith.

       144.      The President’s issuance of the Proclamation in violation of the duty to faithfully

execute the laws inflicts ongoing harm on Plaintiffs.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that the Court:

A.     Declare that the President’s Proclamation of February 15, 2019 is unauthorized by, and

contrary to, the Constitution and laws of the United States;

B.     Enjoin Defendants from taking any action pursuant to the Proclamation, the NEA, or any

statutes cited in the Proclamation or the White House Statement issued February 15, 2019; and

C.     Award such additional relief as the interests of justice may require.

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